8:13-cr-00043-JMG-FG3   Doc # 526   Filed: 01/15/15   Page 1 of 1 - Page ID # 1522




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                8:13CR43
                 Plaintiff,
      vs.
                                                         ORDER
EDUARDO VALENZUELA-NUNEZ,
                 Defendant.


     IT IS ORDERED that:

     1.     The defendant's Unopposed Motion             for   Continuance     of
            Sentencing (filing 525) is granted.

     2.     Defendant Eduardo Valenzuela-Nunez's sentencing is continued
            to Thursday, March 19, 2015, at 2:30 p.m., before the
            undersigned United States District Judge, in Courtroom No. 1,
            Roman L. Hruska Federal Courthouse, 111 South 18th Plaza,
            Omaha, Nebraska. The defendant shall be present at the hearing.

     Dated this 15th day of January, 2015.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
